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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8   KYLE LYDELL CANTY,

 9                                 Plaintiff,             Case No. C16-1655-RAJ-JPD

10          v.
                                                          ORDER DIRECTING SERVICE OF
11   CITY OF SEATTLE, et al.,                             SECOND AMENDED CIVIL RIGHTS
                                                          COMPLAINT
12                                 Defendants.

13

14          This is a civil rights action brought pursuant to 42 U.S.C. § 1983. Plaintiff is proceeding

15   with this action pro se and in forma pauperis. The Court, having reviewed plaintiff’s second

16   amended complaint, hereby ORDERS as follows:

17          (1)      Service by Clerk

18          The Clerk is directed to send to defendants Timothy Renihan, Sean Culbertson, Marshall

19   Coolidge, Police Officer Hancock, Gail Bonicalzi, and Melinda Hasegawa a copy of plaintiff’s

20   second amended complaint (Dkt. 38), a copy of this Order, two copies of the notice of lawsuit

21   and request for waiver of service of summons, a waiver of service of summons, and a return

22   envelope, postage prepaid, addressed to the Clerk’s Office.

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 1           (2)    Response Required

 2           Defendants shall have thirty (30) days within which to return the enclosed waivers of

 3   service of summons. A defendant who timely returns the signed waiver shall have sixty (60)

 4   days after the date designated on the notice of lawsuit to file and serve an answer to the second

 5   amended complaint or a motion permitted under Rule 12 of the Federal Rules of Civil Procedure.

 6           A defendant who fails to timely return the signed waiver will be personally served with a

 7   summons and complaint, and may be required to pay the full costs of such service, pursuant to

 8   Rule 4(d)(2) of the Federal Rules of Civil Procedure. A defendant who has been personally

 9   served shall file an answer or motion permitted under Rule 12 within thirty (30) days after

10   service.

11           (3)    Filing and Service by Parties, Generally

12           All attorneys admitted to practice before this Court are required to file documents

13   electronically via the Court’s CM/ECF system. Counsel are directed to the Court’s website,

14   www.wawd.uscourts.gov, for a detailed description of the requirements for filing via CM/ECF.

15   All non-attorneys, such as pro se parties and/or prisoners, may continue to file a paper original

16   with the Clerk. All filings, whether filed electronically or in traditional paper format, must

17   indicate in the upper right hand corner the name of the magistrate judge to whom the document

18   is directed.

19           For any party filing electronically, when the total of all pages of a filing exceeds fifty

20   (50) pages in length, a paper copy of the document (with tabs or other organizing aids as

21   necessary) shall be delivered to the Clerk’s Office for chambers. The chambers copy must be

22   clearly marked with the words “Courtesy Copy of Electronic Filing for Chambers.”

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 1          Any document filed with the Court must be accompanied by proof that it has been served

 2   upon all parties that have entered a notice of appearance in the underlying matter.

 3          (4)     Motions, Generally

 4          Any request for court action shall be set forth in a motion, properly filed and served.

 5   Pursuant to LCR 7(b), any argument being offered in support of a motion shall be submitted as a

 6   part of the motion itself and not in a separate document. The motion shall include in its caption

 7   (immediately below the title of the motion) a designation of the date the motion is to be noted for

 8   consideration upon the Court’s motion calendar.

 9          Stipulated and agreed motions, motions to file over-length motions or briefs, motions for

10   reconsideration, joint submissions pursuant to the option procedure established in LCR 37(a)(2),

11   motions for default, requests for the clerk to enter default judgment, and motions for the court to

12   enter default judgment where the opposing party has not appeared shall be noted for

13   consideration on the day they are filed. See LCR 7(d)(1). All other non-dispositive motions

14   shall be noted for consideration no earlier than the third Friday following filing and service of the

15   motion. See LCR 7(d)(3). All dispositive motions shall be noted for consideration no earlier

16   than the fourth Friday following filing and service of the motion. Id.

17          For electronic filers, all briefs and affidavits in opposition to either a dispositive or non-

18   dispositive motion shall be filed and served not later than 11:59 p.m. on the Monday

19   immediately preceding the date designated for consideration of the motion. If a party (i.e. a pro

20   se litigant and/or prisoner) files a paper original, that opposition must be received in the Clerk’s

21   office by 4:30 p.m. on the Monday preceding the date of consideration.

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 1          The party making the motion may file and serve, not later than 11:59 p.m. (if filing

 2   electronically) or 4:30 p.m. (if filing a paper original with the Clerk’s office) on the date

 3   designated for consideration of the motion, a reply to the opposing party’s briefs and affidavits.

 4          (5)      Motions to Dismiss and Motions for Summary Judgment

 5          Parties filing motions to dismiss pursuant to Rule 12 of the Federal Rules of Civil

 6   Procedure and motions for summary judgment pursuant to Rule 56 of the Federal Rules of Civil

 7   Procedure should acquaint themselves with those rules. As noted above, these motions shall be

 8   noted for consideration no earlier than the fourth Friday following filing and service of the

 9   motion.

10          Defendants filing motions to dismiss or motions for summary judge are advised that they

11   MUST serve Rand notices concurrently with motions to dismiss based on failure to exhaust

12   administrative remedies and motions for summary judgment so that pro se prisoner plaintiffs will

13   have fair, timely and adequate notice of what is required of them in order to oppose those

14   motions. Woods v. Carey, 684 F.3d 934, 941 (9th Cir. 2012). The Ninth Circuit has set forth

15   model language for such notices:

16                A motion for summary judgment under Rule 56 of the Federal Rules of
                  Civil Procedure will, if granted, end your case.
17
                  Rule 56 tells you what you must do in order to oppose a motion for
18                summary judgment. Generally, summary judgment must be granted when
                  there is no genuine issue of material fact – that is, if there is no real
19                dispute about any fact that would affect the result of your case, the party
                  who asked for summary judgment is entitled to judgment as a matter of
20                law, which will end your case. When a party you are suing makes a
                  motion for summary judgment that is properly supported by declarations
21                (or other sworn testimony), you cannot simply rely on what your
                  complaint says. Instead, you must set out specific facts in declarations,
22                depositions, answers to interrogatories, or authenticated documents,
                  as provided in Rule 56(e), that contradict the facts shown in the
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 1                defendant’s declarations and documents and show that there is a
                  genuine issue of material fact for trial. If you do not submit your own
 2                evidence in opposition, summary judgment, if appropriate, may be
                  entered against you. If summary judgment is granted, your case will
 3                be dismissed and there will be no trial.

 4   Rand v. Rowland, 154 F.3d 952, 963 (9th Cir. 1998) (emphasis added).

 5          Defendants who fail to file and serve the required Rand notice on plaintiff may have their

 6   motion stricken from the Court’s calendar with leave to re-file.

 7          (6)      Direct Communications with District Judge or Magistrate Judge

 8          No direct communication is to take place with the District Judge or Magistrate Judge with

 9   regard to this case. All relevant information and papers are to be directed to the Clerk.

10          (7)      The Clerk is directed to send a copy of this Order to plaintiff. The Clerk is further

11   directed send copies of this Order and of plaintiff’s second amended complaint to the Seattle

12   City Attorney’s Office and to the King County Prosecutor’s Office by first-class mail.

13          Dated this 13th day of June, 2017.

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                                                   AJAMES P. DONOHUE
                                                    Chief United States Magistrate Judge
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